            Case 3:17-cv-05769-RJB Document 159 Filed 03/18/19 Page 1 of 3



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2                                                                          The Honorable Robert J. Bryan

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7                               IN THE UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
8                                           AT SEATTLE

9
      UGOCHUKWU GOODLUCK NWAUZOR,                             Case No. 3:17-cv-05769-RJB
10    FERNANDO AGUIRRE-URBINA, individually
      and on behalf of all those similarly situated,          DEFENDANT/COUNTER CLAIMANT’S
11                                                            UNOPPOSED MOTION TO WAIVE
                     Plaintiffs/Counter Defendants,           GEOGRAPHIC REQUIREMENT IN
12                                                            LCR 83.1
             v.
13                                                            NOTE ON MOTION CALENDAR:
      THE GEO GROUP, INC.,                                    MARCH 18, 2019
14
                     Defendant/Counter Claimant
15

16          Defendant/Counter Claimant The GEO Group, Inc. (“GEO”) respectfully asks this Court to

17   waive the geographic requirement for local counsel in LCR 83.1(d)(2). Counsel for GEO has

18   conferred with plaintiffs’ counsel regarding the subject of this motion, and plaintiffs do not oppose

19   this motion.

20          Counsel for GEO, J. Matthew Donohue, Shannon Armstrong, and Kristin Asai, are lawyers

21   with Holland & Knight’s Portland office (“Portland Counsel”). Portland Counsel are members of

22   the Washington Bar and admitted to practice in this District. Portland Counsel would like to serve as

23   local counsel in this matter under LCR 83.1(d) and submit a pro hac vice application on behalf of

24   their colleague, Carolyn Short, a lawyer with Holland & Knight’s Philadelphia office.

25          Under LCR 83.1(d)(2), local counsel must have a physical office within the District. Holland

26   & Knight does not have an office within the District. Portland Counsel therefore request that the


      PAGE 1 - DEFENDANT/COUNTER CLAIMANT’S                                  HOLLAND & KNIGHT LLP
                                                                                2300 US Bancorp Tower
      UNOPPOSED MOTION TO WAIVE GEOGRAPHIC                                        111 SW Fifth Avenue
      REQUIREMENT IN LCR 83.1 (3:17-CV-05769-RJB)                                  Portland, OR 97204
                                                                                Telephone: 503.243.2300
            Case 3:17-cv-05769-RJB Document 159 Filed 03/18/19 Page 2 of 3



1    Court waive the geographic requirement because: (1) Portland Counsel are admitted to practice in

2    this District; (2) Portland Counsel regularly practice in this District and have four other pending

3    matters in this Court; (3) Portland Counsel are physically located near the District in Portland,

4    Oregon; and (4) this Court previously waived this requirement for two other matters currently

5    pending in this District: (1) Ryanair DAC v. Expedia, Inc., Case No. 2:17-CV-01789-RSL; and (2)

6    Frantz Samson v. UnitedHealthcare Services, Inc., 2:19-cv-00175-JLR.

7           Dated: March 18, 2019
                                                   HOLLAND & KNIGHT LLP
8

9
                                                   By: s/ Kristin M. Asai
10                                                     J. Matthew Donohue, WSB # 52455
                                                       matt.donohue@hklaw.com
11                                                     Shannon Armstrong, WSB # 45947
                                                       shannon.armstrong@hklaw.com
12                                                     Kristin M. Asai, WSB #49511
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13                                                     2300 US Bancorp Tower
                                                       111 SW Fifth Avenue
14                                                     Portland, OR 97204
                                                       Telephone: 503.243.2300
15                                                     Fax: 503.241.8014
16                                                       Carolyn Short (pro hac vice to be applied for)
                                                         carolyn.short@hklaw.com
17                                                       Holland & Knight LLP
                                                         Cira Center, 2929 Arch Street, Suite 800
18                                                       Philadelphia, PA 19104
                                                         Telephone: 215.252.9535
19
                                                         Attorneys for Defendant/Counter Claimant
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      PAGE 2 - DEFENDANT/COUNTER CLAIMANT’S                                  HOLLAND & KNIGHT LLP
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                                                                                Telephone: 503.243.2300
              Case 3:17-cv-05769-RJB Document 159 Filed 03/18/19 Page 3 of 3



1                                         CERTIFICATE OF SERVICE

2            I hereby certify that I caused the foregoing DEFENDANT/COUNTER CLAIMANT’S
     UNOPPOSED MOTION TO WAIVE GEOGRAPHIC REQUIREMENT IN LCR 83.1 to be served
3    on the following person[s]:

4        Jamal N. Whitehead                                     R. Andrew Free
         Adam J. Berger                                         Law Office of R. Andrew Free
5        Lindsay L. Halm                                        P.O. Box 90568
         Schroeter Goldmark & Bender                            Nashville, TN 37209
6        810 Third Avenue, Suite 500                            andrew@immigrantcivilrights.com
         Seattle, WA 98104
7        whitehead@sgb-law.com                                  Attorneys for Plaintiffs/Counter Defendants

8        Attorneys for Plaintiffs/Counter Defendants            Meena Pallipamu Menter
                                                                Menter Immigration Law PLLC
9        Devin T Theriot-Orr                                    8201 164th Avenue NE, Suite 200
         Open Sky Law PLLC                                      Seattle, WA 98052
10       20415 72nd Avenue S, Suite 110                         meena@meenamenter.com
         Kent, WA 98032
11       devin@opensky.law                                      Attorneys for Plaintiffs/Counter Defendants

12       Attorneys for Plaintiffs/Counter Defendants

13   by causing the document to be delivered by the following indicated method or methods:

14           by CM/ECF electronically mailed notice from the Court on the date set forth below.

15          by mailing full, true and correct copies thereof in sealed, first class postage prepaid envelopes,
     addressed to the parties and/or their attorneys as shown above, to the last-known office addresses of
16   the parties and/or attorneys, and deposited with the United States Postal Service at Portland, Oregon,
     on the date set forth below.
17
           by causing full, true, and correct copies thereof to be hand-delivered to the parties and/or their
18   attorneys at their last-known office addresses listed above on the date set forth below.

19         by sending full, true, and correct copies thereof, via overnight courier in sealed, prepaid
     envelopes, addressed to the parties and/or their attorneys as shown above, to the last-known office
20   addresses of the parties and/or their attorneys, on the date set forth below.

21         by faxing full, true, and correct copies thereof to the fax machines which are the last-known
     fax numbers for the parties’ and/or attorneys’ offices, on the date set forth below.
22
      DATED March 18, 2019.
23
                                                          s/ Kristin M. Asai
24                                                        Kristin M. Asai

25

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                                                                        HOLLAND & KNIGHT LLP
                                                                           2300 US Bancorp Tower
                                                                             111 SW Fifth Avenue
      CERTIFICATE OF SERVICE – PAGE 1                                         Portland, OR 97204
                                                                           Telephone: 503.243.2300
